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   IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                                                FLORIDA

  Cristian Ali, individually and on behalf of    )
  all others similarly situated,                 )
          Plaintiff,                             )       Case No. 1:21cv23588
                                                 )
  v.                                             )       Class Action Complaint
                                                 )
  7-ELEVEN, INC., a Texas corporation,           )       Jury Trial Demanded
           Defendant.                            )

                            ORIGINAL CLASS ACTION COMPLAINT

           Plaintiff, Cristian Ali, (“Plaintiff”) by and through his undersigned counsel, pursuant to

  all applicable Federal Rules of Civil Procedure, hereby files this class action complaint on behalf

  of himself and all others similarly situated throughout the United States, and alleges against

  Defendant, 7-ELEVEN, INC., (“Defendant”) as follows:


  I.       INTRODUCTION

           1.     Founded in 1927, 7-Eleven, Inc. (“7-Eleven”) is an American company that

  operates an international chain of convenience stores with approximately 71,100 stores in 17

  countries. In addition to snacks, gas and miscellaneous retail items, Defendant markets, advertises,

  distributes and sells various types of tobacco products, including but not limited to e-cigarettes.

  At issue here is Defendant’s marketing and sale of JUUL E-Cigarettes (the “Products”). See

  Exhibit 1, attached hereto and incorporated herein, a true and correct representation of the Products’

  label.

           2.     Defendant markets the Products as a safer or at least comparable alternative to

  cigarettes when in fact they are not because a single JUUL e-cigarette delivers the same amount

  of nicotine as an entire pack of traditional cigarettes; the Products highly concentrated nicotine




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  delivery system causes users to easily become addicted to the harmful Products. 1 Defendant

  provides No Warning that the Products are far more potent and addictive than conventional

  cigarettes.

          3.      The nicotine content in JUUL pods is much higher than in cigarettes as well as most

  other e-cigarettes, especially among those sold in the United States. This is partially because the

  Products contain protonated nicotine, which allows users to absorb higher concentrations than they

  would from products made with free-base nicotine. Protonated nicotine is less harsh and thus easier

  to handle for those who were not previously smokers, further contributing to the Products’

  addictiveness.2 The discreet appearance of the Products and lack of smoke also make them appeal

  to younger generations and people who previously had no interest in smoking or seek safer

  alternatives to cigarettes.

          4.      In addition to the inordinately high risk of nicotine addiction, the Products have

  also been associated with nicotine poisoning and toxicity. The Food and Drug Administration has

  received numerous reports of JUUL users, primarily teenagers and young adults, who have




  1
   Judith J Prochaska, Erin A Vogel , and Neal Benowitz, “Nicotine delivery and cigarette
  equivalents from vaping a Juul pod,”National Library of Medicine: National Center for
  Biotechnology Information, https://pubmed.ncbi.nlm.nih.gov/33762429/ (last visited August 11,
  2021). See also “How Much Nicotine is in JUUL,” TruthInitiaative.org,
  https://truthinitiative.org/research-resources/emerging-tobacco-products/how-much-nicotine-juul
  (“The amount of nicotine in one standard JUUL cartridge is roughly equal to the amount of
  nicotine in a pack of cigarettes, or about 200 puffs, according to the JUUL website”).

  2
    “Effect of free-base and protonated nicotine on nicotine yield from electronic cigarettes with
  varying power and liquid vehicle,” Scientific Reports, (October 1, 2020).
  https://www.nature.com/articles/s41598-020-73385-6.“See also, “Effect of Exposure to E-
  Cigarettes with Salt vs. Nicotine on the Appeal and Sensory Experience of Vaping,” JAMA
  Network. (January 12, 2021).
  https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2774851.




                                                   2
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  suffered seizures and convulsions as a result of nicotine poisoning and toxicity. 3 Researchers have

  also found that users are being exposed to an assortment of potentially harmful

  chemicals, including nicotine and formaldehyde, as well as heavy metals, such as lead.

  Researchers have also found links to an incurable lung condition known as popcorn lung.4

            5.     Furthermore, it comes as no surprise to Defendant that its Products are deceptively

  addicting and unreasonably dangerous to consumers. Prior to the Products debut in 2014, JUUL

  specifically informed Defendant 7-Eleven of the Products’ chemistry in order to persuade them to

  purchase the new Products.5

            6.     Since then, as a result of aggressive advertising the Products using young adult

  models to glamorize vaping, JUUL has been accused by government agencies and in various

  lawsuits of targeting young and underage people in its advertising in order to get a new generation

  addicted to nicotine. The lawsuits also claim that JUUL intentionally created a small, sleek device

  that contained a high concentration of nicotine that delivered the nicotine in an expedited manner,

  and that the devices were then deceptively marketed to a young generation as safer than cigarettes.6

            7.     Despite Defendant’s actual knowledge of the extremely high nicotine content and


  3
      https://www.drugwatch.com/e-cigarettes/side-effects/
  4
      Id.
  5
    Julie Creswell and Sheila Kaplan, “How JUUL Hooked a Generation on Nicotine,” New York
  Times (November 23, 2019). Available at https://www.nytimes.com/2019/11/23/health/juul-
  vaping-crisis.html (“The high level of nicotine also appealed to skeptical retailers. In the summer
  of 2014, the year before Juul’s debut, the sales teams had run into resistance from stores who
  were stuck with other e-cigarette inventory that simply was not selling. But by focusing on the
  chemistry behind Juul, and its delivery of nicotine levels that were close to combustible
  cigarettes, two former sales executives said, they persuaded convenience store chains like 7-
  Eleven and Circle K to order the new product”).

  6
      https://www.drugwatch.com/e-cigarettes/lawsuits/



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  wealth of information elucidating the inordinate hazards of the Products, Defendant failed to warn

  that the Products it markets and sells are far more potent and addictive than tobacco cigarettes. In

  fact, prior to 2018, Defendant failed to warn that the Products contained any nicotine at all.7

           8.     As a result, Plaintiff has purchased Products that are unreasonably harmful and

  addictive and not as represented by Defendant. Defendant’s marketing and advertising of the

  Products is false and deceptive. Through a variety of advertising methods, including but not

  limited to product placement and postings in and around 7-Eleven stores and online advertising of

  the Products, Defendant has made false representations regarding the true nature of the Products

  by, inter alia, omitting information know to Defendant that would be material to the purchasing

  decision of reasonable consumers like Plaintiff and the members of the putative class..

           9.    Plaintiff and consumers expected to purchase a safer or at least comparable

  alternative to cigarettes only to learn that they were in fact purchasing a product with a much higher

  nicotine delivery system than conventional cigarettes; as a result, plaintiff and consumers were

  denied the benefit of their bargain.

           10.   Defendant’s false and misleading representations and omissions violate state and

  federal law, including Florida’s Deceptive and Unfair Trade Practices Act, as detailed more fully

  below.

  II.      JURISDICTION AND VENUE

           11.   This Court has jurisdiction over the subject matter presented by this Complaint

  because it is a class action arising under 18 U.S.C. § 1332(d), which, under the Class Action

  Fairness Act of 2005 (“CAFA”), Pub. L. No. 109-2, 119 Stat. 4 (2005), explicitly provides for the



  7
   Julie Creswell and Sheila Kaplan, “How JUUL Hooked a Generation on Nicotine,” New York
  Times (November 23, 2019). Available at https://www.nytimes.com/2019/11/23/health/juul-
  vaping-crisis.html.

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  original jurisdiction of the Federal Courts of any class action in which any member of the Plaintiff

  class is a citizen of a state different from any Defendant, and in which the matter in controversy

  exceeds in the aggregate the sum of $5,000,000, exclusive of interest and costs.

          12.      On information and belief, Plaintiff alleges that the total claims of individual class

  members in this action are in excess of $5,000,000 in the aggregate, exclusive of interest and costs,

  as required by 28 U.S.C. § 1332(d)(2), (5). Plaintiff is a citizen of the State of Florida, as set forth

  below, and Defendant can be considered a citizen of Texas. Therefore, diversity of citizenship

  exists under CAFA as required by 28 U.S.C. § 1332(d)(2)(A).

          13.      Venue in this district is proper pursuant to 28 U.S.C. §1391(b) because Defendant

  conducts business within, may be found in, and is subject to personal jurisdiction in this judicial

  district, and Plaintiff resides in and purchased the Products that are the subject of this action in this

  judicial district.

  III.    PARTIES

          14.      Plaintiff Cristian Ali is an individual consumer over the age of 18. He resides in

  Miami-Dade county and is a citizen of Florida. Plaintiff purchased the Products from a 7-Eleven

  located in Miami Beach, Florida, 33139.

          15.      Plaintiff seeks injunctive relief and damages on behalf of himself and the Class,

  and respectfully requests a jury trial on damage claims.

          16.      Defendant 7-Eleven, Inc. is a Texas corporation and lists its corporate

  headquarters in Dallas, Texas. Therefore, Defendant maybe considered a citizen of Texas. At all

  relevant times, Defendant marketed, distributed and sold various consumer Products, including

  the Products that is the subject of this lawsuit, to Plaintiff and members of the class throughout

  this judicial district and the rest of the United States.




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  IV.       FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

            17.   Electronic cigarettes (also known as e-cigarettes, e-cigs, and vaping products) are

  designed to look like cigarettes, writing pens, USB flash drives, and other common products.

            18.   These devices use a liquid that contains nicotine and various types of flavors, as

  well as propylene glycol and glycerin. The liquid is heated through the use of a battery and heating

  coils and then becomes a vapor, where it can be inhaled; hence its use is often referred to as

  "vaping". These products are officially referenced as electronic nicotine delivery systems (ENDS).

            19.   JUUL products are the most common form of e-cigarettes currently utilized. JUUL

  delivery systems (known as pods) look similar to a USB flash drive and contain dangerously high

  amounts of nicotine. A single JUUL pod contains the same amount of nicotine as an entire pack

  of traditional cigarettes. As explained above, JUUL pods have a much higher concentration of

  nicotine than cigarettes and the nicotine is absorbed by the body at a higher rate than cigarettes.

            20.   Nicotine has long been known to be a dangerous and harmful chemical. Some of

  the many negative health effects of nicotine include lung, pancreatic, and breast cancer; respiratory

  problems; kidney disease; coronary artery disease; emphysema; gastroesophageal reflux disease

  (GERD); reproductive issues; macular degeneration (cataracts and vision loss); and addiction,

  which increases the likelihood of contracting the aforementioned afflictions.

            21.   In addition, when heated, vape products can produce particles of heavy metals such

  as cadmium, chromium, lead, manganese, and nickel, all of which can become lodged in lung

  tissue.

            22.   As a result, not only does JUUL vaping result in addiction, but also increased

  exposure to carcinogens, nicotine poisoning, and lung disease (popcorn lung).



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           23.     In April 2018, the Journal of Pediatrics published a report about the carcinogenic

  effects of the flavoring chemicals used in vape juice to provide fruit flavors. Chemicals included

  formaldehyde (embalming fluid), toluene (an ingredient in paint thinners and commercial

  adhesives) and acrolein (used to kill off plant and algae blooms in irrigation canals and water

  treatment ponds). These chemicals can cause the development of bronchiolitis obliterans, a serious

  lung disease that is irreversible, and commonly known as “popcorn lung.” Symptoms of popcorn

  lung include coughing, wheezing, and shortness of breath, similar to the symptoms of chronic

  obstructive pulmonary disease.8

           24.     Furthermore, the Food and Drug Administration has received numerous reports of

  JUUL users, primarily teenagers and young adults, who have suffered seizures and convulsions as

  a result of nicotine poisoning and toxicity. Symptoms of nicotine poisoning include blood clots,

  convulsions, embolisms, elevated blood pressure, heart injuries, joint pain, seizures, and strokes.

           25.     Plaintiff Cristian Ali purchased the e-cigarette Products, including but not limited

  to JUUL menthol e-cigarettes, from a 7-Eleven in Miami Beach, Florida numerous times within

  the four years preceding the filing of this complaint.

           26.     In purchasing the Products from his local 7-Eleven, Plaintiff believed that the

  Products were a safer or at least comparable alternative to cigarettes when in fact they are not

  because the Products have a far higher content of nicotine and are far more addictive than

  conventional cigarettes. Defendant knew this and promoted the Products without any indication of

  it. In fact, prior to 2018, defendant failed to warn that the Products contained any nicotine at all.9



  8
      Available at https://pediatrics.aappublications.org/content/141/4/e20173557.
  9
   Julie Creswell and Sheila Kaplan, “How JUUL Hooked a Generation on Nicotine,” New York
  Times (November 23, 2019). Available at https://www.nytimes.com/2019/11/23/health/juul-
  vaping-crisis.html.

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            27.    Nicotine addiction can be a lifelong battle. Studies show that nicotine is as addictive
                               10
  as cocaine and heroin,            yet Defendant gives No Warning that the Products contain

  disproportionately high concentrations of nicotine and have the ability to deliver nicotine faster

  and in greater amounts to the brain than conventional cigarettes.

            28.    Defendant provides no warning or disclaimer of the inordinately addictive and

  harmful nature of the Products compared to conventional cigarettes, and Defendant’s advertising

  and marketing is deceptive and likely to mislead the public as a result. Plaintiff and class members

  would not have purchased the Products if they had known the true nature of its harmful effects.

            29.    In purchasing the Products, Plaintiff, like and objectively reasonable consumer,

  relied upon the marketing of the Product by 7-Eleven, including without limitation, product

  placement, placards and signage on and around 7-Eleven locations as well as Product pricing

  Products misrepresenting them as safer or at the very least no more harmful than conventional

  cigarettes. Omission of the harmful content and effect of the Products in the marketing by 7-Eleven

  is omission of information that would be material to any objectively reasonable consumer, like

  Plaintiff and the absent members of the putative class. Plaintiff and class members have been

  damaged by their purchase of the Products because the labeling and advertising for the Products

  was and is deceptive and misleading; therefore, the Products are worth less than what Plaintiff paid

  for them, and Plaintiff and class members did not receive what they reasonably intended to receive.

            30.    Defendant’s failure to warn that the Products are unreasonably dangerous and

  excessively addictive was important to Plaintiff and Class members in deciding to purchase and

  consume the Products because they would not have purchased the Products had they been




  10
       https://www.drugwatch.com/e-cigarettes/side-effects/nicotine-addiction/



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  advertised and labeled with a warning of their extremely high nicotine content and disproportionate

  health risks to consumers.

         31.       On information and belief, the Japanese partnership that controls the Defendant

  does not allow the product to be sold in Japan due to the dangerous nature of the Product, yet the

  same control group has no problem selling the Product in the United States.

         32.       At a minimum, Plaintiff and Class Members contend that Defendant should be

  prohibited from selling the Products or at the very least include a warning that the Products contain

  a much higher concentration of nicotine and thus pose a far greater risk of addiction public than

  that seen with conventional cigarettes.

  V.     CLASS ALLEGATIONS

         33.       Plaintiff re-alleges and incorporates by reference all allegations set forth above.

         34.       Plaintiff brings this class action pursuant Federal Rule of Civil Procedure 23 and

  seeks certification of the claims and certain issues in this action pursuant to the applicable

  provisions of Federal Rule of Civil Procedure 23 on behalf of the following individuals:

               •   All Florida residents who purchased JUUL E-Cigarettes (the “Products”) from 7-

                   Eleven, Inc. (“Defendant”) in Florida from the four years preceding the filing of

                   this complaint to present (“Class Period”).

               •   Excluded from the Class are Defendant and any officer, director, employee, legal

                   counsel, firm, trust, corporation, or other entity related to or affiliated with

                   Defendant and the members of the judiciary and their office staff to whom this case

                   may be assigned.

         35.       Defendant’s practices and omissions were applied uniformly to all members of the

  Class, so that the questions of law and fact are common to all members of the Class. All members



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  of the Class were and are similarly affected by having purchased and used the Products, which

  they would not have done had Defendant properly warned class members that the Products are far

  more potent and addictive than other types of cigarettes and the relief sought herein is for the

  benefit of Plaintiff and members of the putative Class.

         36.     On information and belief, Plaintiff alleges that the Plaintiff Class is so numerous

  that joinder of all members would be impractical. Based on the annual sales of the Products and

  the popularity of the Products, it is apparent that the number of consumers of the Products would

  at least be in the many thousands, thereby making joinder impossible.

         37.     Questions of law and fact common to the Plaintiff and the Class exist that

  predominate over questions affecting only individual members, including, inter alia:

         a.      Whether Defendant’s practices in connection with the design, testing, manufacture,

                 assembly, development, promotion, marketing, advertising and sale of the Products

                 were deceptive or unfair in any respect, thereby violating the Florida Deceptive and

                 Unfair Trade Practices Act, inter alia, sections 501.201 to 201.213, Florida Statutes;

         b.      Whether Defendant failed to warn that the Products contain a highly concentrated

                 nicotine delivery system;

         c.      Whether Defendant failed to warn that the Products are inordinately addictive and

                 pose a public health risk;

         d.      Whether Defendant negligently misrepresented the true nature of the Products;

         e.      Whether Defendant breached implied warranties in its sale of the Products, thereby

                 causing harm to Plaintiff and Class members;

         f.      Whether Defendant violated the Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301,

                 et seq.;




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         g.      Whether Defendant was unjustly enriched;

         h.      Whether Defendant’s conduct as set forth above injured consumers and if so, the

                 extent of the injury; and

         i.      Whether Plaintiffs are entitled to a Declaratory Judgment as a result of Defendant’s

                 practices and representations related to the marketing, labeling and sales of the

                 Products.

         38.     The claims asserted by Plaintiff in this action are typical of the claims of the

  members of the Plaintiff Class, as the claims arise from the same course of conduct by Defendant,

  and the relief sought is common.

         39.     Plaintiff will fairly and adequately represent and protect the interests of the

  members of the Plaintiff Class. Plaintiff has retained counsel competent and experienced in both

  consumer protection and class action litigation.

         40.     Certification of this class action is appropriate under Federal Rule of Civil

  Procedure 23 because the questions of law or fact common to the respective members of the Class

  predominate over questions of law or fact affecting only individual members. This predominance

  makes class litigation superior to any other method available for the fair and efficient adjudication

  of these claims.

         41.     Absent a class action, it would be highly unlikely that the representative Plaintiff

  or any other members of the Class would be able to protect their own interests because the cost of

  litigation through individual lawsuits might exceed expected recovery.

         42.     Certification is also appropriate because Defendant acted or refused to act on

  grounds generally applicable to the Class, thereby making appropriate final injunctive relief with

  respect to the Class as a whole.




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         43.       Further, given the large number of class members, allowing individual actions to

  proceed in lieu of a class action would run the risk of yielding inconsistent and conflicting

  adjudications.

         44.       A class action is a fair and appropriate method for the adjudication of the

  controversy, in that it will permit a large number of claims to be resolved in a single forum

  simultaneously, efficiently, and without the unnecessary hardship that would result from the

  prosecution of numerous individual actions and the duplication of discovery, effort, expense and

  burden on the courts that such individual actions would engender.

         45.       The benefits of proceeding as a class action, including providing a method for

  obtaining redress for claims that would not be practical to pursue individually, outweigh any

  difficulties that might be argued with regard to the management of this class action.

  VI.    FIRST CAUSE OF ACTION: VIOLATION OF FLORIDA’S DECEPTIVE AND
         UNFAIR TRADE PRACTICES ACT, FLA. STAT. §§ 501.201, ET SEQ.

         46.       Plaintiff re-alleges and incorporates by reference verbatim the allegations set forth

  in the preceding paragraphs.

         47.       This cause of action is brought pursuant the Florida Deceptive and Unfair Trade

  Practices Act, Sections 501.201 to 201.213, Florida Statutes. The express purpose of the Act is to

  “protect the consuming public...from those who engage in unfair methods of competition, or

  unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce”

  Section 501.202(2).

         48.       The sale of the Products at issue in this cause was a “consumer transaction” within

  the scope of the Florida Deceptive and Unfair Trade Practices Act, Sections 501.201 to 201.213,

  Florida Statutes.

         49.       Plaintiff is a “consumer” as defined by Section 501.203, Florida Statutes. The



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  Products are a “good” within the meaning of the Act. Defendant is engaged in trade or commerce

  within the meaning of the Act.

         50.     Section 501.204(1), Florida Statutes declares as unlawful “unfair methods of

  competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

  conduct of any trade or commerce”.

         51.     Section 501.204(2), Florida Statutes states that “due consideration be given to the

  interpretations of the Federal Trade Commission and the federal courts relating to Section 5(a)(1)

  of the Trade Commission Act”. Defendants’ unfair and deceptive practices are likely to mislead –

  and have misled – the consumer acting reasonably under the circumstances and, therefore, violate

  the FTC’s prohibition of false and deceptive advertising of tobacco products.

         52.     Defendant has violated the Act by engaging in the unfair and deceptive practices

  described above, which offend public policies and are immoral, unethical, unscrupulous and

  substantially injurious to consumers. Specifically, Defendant has represented the Products as safer

  or at least comparable alternatives to cigarettes and failed to warn that the Products deliver a much

  higher concentration of nicotine and are in fact much more addictive than conventional cigarettes.

         53.     As explained above, Defendant had actual knowledge that the Products were far

  more potent and addictive than cigarettes. Prior to the Products debut in 2014, JUUL specifically

  informed Defendant of the Product’s chemistry in order to persuade them to purchase the then new

  Products.11 In addition, JUUL acknowledged on its own website that a single pod is equivalent to



  11
    Julie Creswell and Sheila Kaplan, “How JUUL Hooked a Generation on Nicotine,” New York
  Times (November 23, 2019). Available at https://www.nytimes.com/2019/11/23/health/juul-
  vaping-crisis.html (“The high level of nicotine also appealed to skeptical retailers. In the summer
  of 2014, the year before Juul’s debut, the sales teams had run into resistance from stores who
  were stuck with other e-cigarette inventory that simply was not selling. But by focusing on the
  chemistry behind Juul, and its delivery of nicotine levels that were close to combustible
  cigarettes, two former sales executives said, they persuaded convenience store chains like 7-

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  an entire pack of cigarettes12 and has been the target of thousands of public and private lawsuits

  unmasking the deceptively and dangerously high nicotine content in the Products.13

            54.    Plaintiff and Class Members have been aggrieved by Defendant’s unfair and

  deceptive practices in that they purchased and consumed Defendant’s Products.

            55.    A Reasonable consumer relies on retailers to be truthful in their marketing. In fact,

  7 Eleven recognizes its duty to be responsible and prides itself on setting the standard for

  responsible retailing in the convenience industry:

            Being a great neighbor is all about investing and getting involved. It’s also about
            responsibility, which is one of our key business principals. That’s why we put such a
            focus on serving people, improving our products and protecting the planet. 7-Eleven is
            proud to set the standard for responsible retailing in the convenience industry.

            https://corp.7-eleven.com/corp/about (last visited September 4, 2021).

            56.    As described in detail above, Defendant has represented its Products as products as

  safer or comparable alternatives to cigarettes and failed to warn that the Products are more potent

  and addictive than other types of cigarettes. Prior to 2018, Defendant failed to warn that the

  Products contained any nicotine at all.

            57.    Defendant has deceived reasonable consumers, like Plaintiff and the Class, into

  believing its Products was something it was not—a safer alternative to cigarettes or at the very

  least no more harmful than any other.

            58.    The knowledge required to discern the true nature of Defendant’s Products is


  Eleven and Circle K to order the new product”).
  12
     “How Much Nicotine is in JUUL,” TruthInitiaative.org, https://truthinitiative.org/research-
  resources/emerging-tobacco-products/how-much-nicotine-juul (“The amount of nicotine in one
  standard JUUL cartridge is roughly equal to the amount of nicotine in a pack of cigarettes, or
  about 200 puffs, according to the JUUL website”).
  13
       https://www.drugwatch.com/e-cigarettes/lawsuits/.



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  beyond that of the reasonable consumer—namely that the Products are far more potent and

  addictive than conventional cigarettes.

            59.   The damages suffered by the Plaintiffs and the Class were directly and proximately

  caused by the deceptive, misleading and unfair practices of Defendant, as described above.

            60.   Pursuant to Section 501.211(1), Florida Statutes, Plaintiff and the Class seek a

  declaratory judgment and court order enjoining the above described wrongful acts and practices

  of the Defendant and for restitution and disgorgement.

            61.   Additionally, pursuant to sections 501.211(2) and 501.2105, Florida Statutes,

  Plaintiff and the Class make claims for damages, attorney’s fees and costs.

  VII.      SECOND CAUSE OF ACTION: NEGLIGENT MISREPRESENTATION

            62.   Plaintiff re-alleges and incorporates by reference verbatim the allegations set forth

  in the preceding paragraphs.

            63.   Defendant has negligently misrepresented the Products as safer or at least

  comparable to traditional cigarettes when in fact, they are not because they are far more potent and

  addictive than other types of cigarettes available to consumers.

            64.   Defendant has omitted a material fact to the public, including Plaintiff and Class

  Members, about its Products. Through advertising not related to the label, Defendant has failed to

  disclose the material fact that a single JUUL e-cigarette contains the same amount of nicotine as

  an entire pack of traditional cigarettes and that its Products are more potent and addictive than

  tobacco cigarettes. Prior to 2018, defendant failed to warn that the Products contained any nicotine

  at all.

            65.   Defendant knew or should have known that the representations were false and that

  said omissions would induce Plaintiff and Class Members to purchase the Products.




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         66.      Plaintiff and other reasonable consumers, including the Class members, reasonably

  relied on Defendant’s representations set forth herein, and, in reliance thereon, purchased the

  Products.

         67.      The reliance by Plaintiff and Class members was reasonable and justified in that

  Defendant appeared to be, and represented itself to be, a reputable business.

         68.      Plaintiff and class members would not have been willing to pay for Defendant’s

  Products if they knew the Products were more harmful and addictive than other cigarettes available

  for purchase.

         69.      As a direct and proximate result of these misrepresentations, Plaintiff and Members

  of the Class were induced to purchase and consume Defendant’s Products, and have suffered

  damages to be determined at trial in that, among other things, they have been deprived of the

  benefit of their bargain in that they bought Products that were not what they were represented to

  be, and have spent money on Products that had less value than the price they paid for the Products.

  VIII. THIRD CAUSE OF ACTION: BREACH OF IMPLIED WARRANTY OF
        MERCHANTIBILITY

         70.      Plaintiff re-alleges and incorporate by reference verbatim the allegations set forth

  in the preceding paragraphs.

         71.      Defendant has represented that the Products are safer or at least comparable to

  ordinary cigarettes; therefore, Defendant impliedly warranted that the Products are no more

  harmful or addictive than other cigarettes and are fit for ordinary use. The Products, however, are

  not fit for ordinary use because they are much more potent and addictive than any their traditional

  cigarette analogs. One JUUL pod delivers as much nicotine as an entire pack of cigarettes. As

  explained above, the Products make no mention of this; in fact, prior to 2018, defendant made no

  mention that the Products contained any nicotine at all.



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         72.     Plaintiff and other Members of the Class sought to purchase a safer or at least no

  more harmful alternative to typical cigarettes. In doing so, Plaintiff and other Members of the

  Class relied on Defendant’s skill and judgment to select and furnish suitable goods for that purpose,

  and on or about that time, Defendant sold the Products to Plaintiffs and other Members of the Class.

         73.     By its representations regarding the reputable nature of its company, and by its

  promotion and marketing of the Products, Defendant warranted that the Products were safer or at

  least comparable to conventional cigarettes and suitable for ordinary use by consumers. Plaintiff

  and Members of the Class bought the Products from Defendant, relying on Defendant’s skill and

  judgment. However, Defendant’s Products were not reasonably fit for ordinary use because they

  are inordinately addictive and pose an unreasonable public health risk. Therefore, the goods were

  not reasonably fit for the purposes intended.

         74.     At the time of sale, Defendant had reason to know the particular purpose for which

  the goods were required, and that Plaintiff and Members of the Class were relying on Defendants’

  skill and judgment to select and furnish a safer or comparable alternative to cigarettes, so that there

  was an implied warranty that the goods (the Products), were fit for this purpose.

         75.     However, Defendant breached the warranty implied at the time of sale because

  Plaintiff and Members of the Class did not receive suitable goods in as much as the goods were

  far more potent and addictive than typical cigarettes.

         76.     Because the Products are unreasonably addictive and pose a severe public health

  risk, the Products were not fit for the particular purpose for which they were marketed.

         77.     As a proximate result of this breach of warranty by Defendant, Plaintiff and

  Members of the Class have suffered actual damages in an amount to be determined at trial in that

  they were induced to purchase a Products they would not have purchased had they known the true




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  facts about, and have spent money on Products that were not what they were represented to be,

  and that lack the value Defendant represented the Products to have.

         78.     Plaintiff and Class members gave timely notice to Defendant of this breach on

  behalf of themselves and all members of the Plaintiff Class directly through a Notice letter sent to

  Defendant on September 7, 2021.

         79.     Furthermore, Defendant continues to market the Products without any warning that

  the Products are far more potent and addictive than cigarettes.

  IX.    FOURTH CAUSE OF ACTION: BREACH OF IMPLIED WARRANTY OF
         FITNESS FOR PURPOSE

         80.     Plaintiff re-alleges and incorporates by reference verbatim the allegations set forth

  in the preceding paragraphs.

         81.     Defendant has represented that the Products are safer than or comparable to

  ordinary cigarettes when in fact, the Products are far more potent and addictive than ordinary

  cigarettes. Therefore, Defendant impliedly warranted that the Products are no more harmful than

  other cigarettes and fit for ordinary use. In fact, prior to 2018, defendant made no mention that the

  Products contained any nicotine at all.

         82.     Plaintiff and other Members of the Class sought a safer or comparable alternative

  to typical cigarettes. In doing so, Plaintiff and other Members of the Class relied on Defendant’s

  skill and judgment to select and furnish suitable goods for that purpose, and on or about that time,

  Defendants sold the Products to Plaintiff and other Members of the Class.

         83.     By their representations regarding the reputable nature of its companies and related

  entities, and by their promotion and marketing of their Products, Defendant warranted that the

  Products were safer than or comparable to ordinary cigarettes and fit for use by consumers.

  Plaintiff and Members of the Class bought the Products from Defendant, relying on Defendant’s



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  skill and judgment. However, Defendant’s Products were not safe and conventional products

  because they are far more addictive and harmful as set forth in detail above. Therefore, the Products

  were not reasonably fit for the purposes intended.

         84.     At the time of sale, Defendant had reason to know the particular purpose for which

  the goods were required, and that Plaintiff and Members of the Class were relying on Defendant’s

  skill and judgment to select and furnish conventional goods, so that there was an implied warranty

  that the goods (the Products), were fit for this purpose.

         85.     However, Defendant breached the warranty implied at the time of sale because

  Plaintiff and Members of the Class did not receive suitable goods in as much as the goods have a

  far more potent nicotine content and are much more addictive than cigarettes.

         86.     Because the Products deliver a much higher concentration of nicotine and pose a

  greater risk of addiction than that seen with regular cigarettes, the Products were not fit for the

  particular purpose for which they were marketed.

         87.     As a proximate result of this breach of warranty by Defendant, Plaintiff and

  Members of the Class have suffered actual damages in an amount to be determined at trial in that

  they were induced to purchase products they would not have purchased had they known the true

  facts about, and have spent money on products that were not what they were represented to be, and

  that lack the value Defendant represented the Products to have.

         88.     Plaintiff and Class members gave timely notice to Defendant of this breach on

  behalf of themselves and all members of the Plaintiff Class directly through a Notice letter sent to

  Defendant on September 7, 2021.

         89.     Furthermore, Defendant continues to market the Products without any warning that

  the Products are far more potent and addictive than conventional cigarettes.




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  XI.      FIFTH CAUSE OF ACTION: BREACH OF MAGNUSOM MOSS WARRANTY
           ACT, 15 U.S.C. §§ 2301, et seq.

           90.     The Products were marketed and sold by defendant and impliedly warranted to

  plaintiff and class members that the Products were safer than or at least comparable to cigarettes,

  when in fact they were not because the Products are much more potent and addictive than cigarettes.

           91.     Defendant had a duty to disclose and/or provide non-deceptive descriptions and

  marketing of the Product.

           92.     This duty is based on Defendant’s outsized role in the market for this type of

  Product.

           93.     Plaintiff provided notice to defendant, its agents, representatives, retailers and their

  employees.

           94.     Defendant received notice and should have been aware of these issues due to

  complaints by regulators, competitors, consumers, and in legal proceedings.

           95.     The Products did not conform to their representations and were not merchantable

  because they were not fit to pass in the trade as advertised.

           96.     Plaintiff and class members would not have purchased the Products or paid as much

  if the true facts had been known, suffering damages.

        XII.     SIXTH CAUSE OF ACTION: UNJUST ENRICHMENT

           97.     Defendant obtained benefits and monies from Plaintiff and Class Members because

  the Product was not as represented and expected, to the detriment and impoverishment of plaintiff

  and class members. As explained in detail above, Defendant markets the Products as a safer or at

  least comparable alternative to cigarettes when in fact they are not because a single JUUL e-

  cigarette delivers the same amount of nicotine as an entire pack of traditional cigarettes; the

  Products highly concentrated nicotine delivery system renders them far more potent and causes



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  users to easily become addicted.

         98.        Had Defendant not made the false, misleading, and deceptive representations and

  omissions, Plaintiff and the other Class members would not have been economically injured

  because Plaintiff and the other Class members would not have purchased the Products. Plaintiff

  and Class members did not receive what they bargained for.

         99.        As a result, it would be inequitable for Defendant to retain the benefit, and Class

  Members seek restitution and disgorgement of the inequitably obtained profits.


                                           PRAYER FOR RELIEF


         WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated, prays for

  relief, jointly and severally pursuant to each cause of action set forth in this Complaint as

  follows:


         1. For an order certifying that the action may be maintained as a class action and

  Plaintiff’s counsel be appointed as Class Counsel and Plaintiff be appointed as class

  representative;


         2. For an award of equitable relief as follows:


         a. Enjoining Defendant from continuing to engage, use, or employ any unfair and/or

  deceptive business acts or practices related to the design, testing, manufacture, assembly,

  development, marketing and advertising of the Products for the purpose of selling the Products in

  such manner as set forth in detail above;


         b. Restoring all monies that may have been acquired by Defendant as a result of such

  unfair and/or deceptive act or practices; and


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         c. Requiring Defendant to disgorge all ill-gotten gains flowing from the conduct

  described herein.


         3.      For a Declaratory Judgment as specified above;


         4.      For actual damages in an amount to be determined at trial;


         5.      For an award of attorney’s fees and costs;


         6.      For pre- and post-judgment interest on any amounts awarded; and


         7.      For any other award the Court might deem just, appropriate, or proper.


                                      DEMAND FOR JURY TRIAL


         Plaintiff demands a jury trial on all issues so triable.


  Dated: October 13, 2021

                                                          Respectfully submitted,

                                                          Law Offices of Howard W. Rubenstein

                                                          /s/ Joel Oster
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                                            *Pro Hac Vice Application to be Submitted

                                            Attorneys for CRISTIAN ALI And the
                                            Proposed Class




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